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AO 93 (Rev. 11/13)Search and Seizure Warrant



                                           United States District Court
                                                                                for the

                                                               Eastern District of Virginia

                  In the Matter ofthe Search of
             (Briefly describe the property to be searched
              or identify the person by name and address)                                 Case No.    1:19-sw-1134
      Data extracted from a Samsung Galaxy Note II, currently
       located on an extemal drive stored in a storage locker
       located at 2100 Jamieson Ave. Alexandria, VA 22314

                                                  SEARCH AND SEIZURE WARRANT

To:       Any authorized law enforcement officer
        An application by a federal law enforcement officer or an attorney for the government requests the search
ofthe following person or property located in the           Eastem             District of               Virginia
(identify the person or describe the property to be searched and give its location)'.

      See Attachment A




          1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      See Attachment B




          YOU ARE COMMANDED to execute this warrant on or before                                     September 5, 2019            (not to exceed 14 days)
       Sf in the daytime 6:00 a.m. to 10:00 p.m.               □ at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
          The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an invent«
as required by law and promptly return this warrant and inventory to                                  The Honorable John F. Anderson
                                                                                                        (United States Magistrate Judge)

     □ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
       □ for           days (not to exceed 30)      □ until, the facts justifying, the later specific date of


Date and time issued:
                                                                                            John F. Anderson
                                 ^                                          *               United States
City and state:              Alexandria, Virginia                                              Hon. John F. Anderson, U.S. Magistrate Judge
                                                                                                               Printed name and title
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                                                                    Return

Case No.:                              Date and time warrant executed:               Copy of warrant and inventory left with:
   1:19-sw-1134                          8/-zx/z£> 1^          M-.WO
Inventory made in the presence of

Inventory ofthe property taken and name of any person(s)seized:


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                                                               Certification



          I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                              xecuting officer's signature

                                                                                                                                    FBX
                                                                                               Printed name and title    ^
